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FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION 55~5£5{- 27 F?l l= th

 

UNITED STATES OF AMERICA

 

V. 05-20278-B

PAUL PHILLIPS

 

ORDER ON ARRAIGNMENT

 

,¢-
This cause came to be heard on QA,(/Zh 2 ? y 19 55 , the United States Attomey
for this district appeared on behalf of the gqjlemn'<ght, and the defendant appeared in person and With
coun seI:

NAME W.A. Blg,&.€, 5 4%14/ %” w who is Retained./Appointed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

 

 

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

|5 The defendant, who is not in custody, may stand on his present bond.

The defendant, (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA of 1984), is remanded to the custody of the U.S. Marshal.

’</).JMi) /<~ 7.//AA»WI'

UNITED STATES MAGISTRATE JUDGE

CHARGES: 18:134]; 1821343;

U. S_ Attorney assigned to Case: J. Murphy

Age: 3%

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
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July 28, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

